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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

In re: Terrorist Attacks of September 11, 2001 : Docket No.: 03 MDL 1570 (GBD)(SN)
This document relates to:

Anaya, et alii, v. Kingdom of Saudi Arabia, 1:18-cv-12339 (GBD)(SN)

Anaya, et alii, v. Islamic Republic of Iran, 1:18-cv-12341 (GBD)(SN)

DECLARATION OF JOSEPH PETER DRENNAN IN RE
ASSERTION OF CHARGING LIENS

I, Joseph Peter Drennan, of Virginia, hereby depose and say as follows, viz.:

1. That I have been admitted, pro hac vice, in respect of the above-referenced cases, viz.
Anaya, et alii, v. Kingdom of Saudi Arabia, 1:18-cv-12339 (GBD)(SN), and Anaya, et alii, v.
Islamic Republic of Iran, 1:18-cv-12341 (GBD)(SN);

2. That my co-counsel in the above-referenced matters, viz., James P. Bonner, Esq., Patrick
L. Rocco, Esq., and Susan M. Davies, Esq., of Fleischman, Bonner & Rocco, P.C.; Patrick M.
Donahue, Esq., and P. Joseph Donahue, Esq., of The Donahue Law Firm; and P. York McLane,
Esq., and I have consented to be substituted as counsel of record for plaintiffs John M. Galvin,
Sr., John M. Galvin, Jr., Diverra Galvin, Lynn Galvin, Kathy Callahan, and the Estate of Thomas
E. Galvin, with Jerry S. Goldman, Esq., of Anderson Kill, P.C., in both of the above-referenced
cases, by having executed proposed stipulated substitution of counsel orders for each of the said
plaintiffs in both cases, pursuant to the provisions of SDNY Local Rule 1.4;

3. That, pursuant to Local Rule 1.4, on 15 March 2024, I served upon each of the above-
referenced plaintiffs, and Jerry S. Goldman, Esq., a letter asserting attorneys’ charging liens in
each of the subject matters, and, annexed hereto, and incorporated herewith by reference thereto,
as “Exhibit ‘A’”, is a true copy of said letter; &

4, That the purpose of this Declaration is to comply with the notice to the clerk of court
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requirement contained in §54.1-3932 of the Code of Virginia.
Further, the declarant sayeth not.

I, Joseph Peter Drennan, undersigned, hereby declare, under the penalty of perjury, that the

foregoing is true and correct.
AK f MW
Dated:<6 od, feu Jory AL ete oa
Y// SEPA

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Pro Hac Vice Counsel for Plaintiffs

5.
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15 March 2024

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Jemy S. Gohkiman. Esquire
Anikrsan Kill, B.C.

1281 Sixth Avenue, Floor 42

New York, New York 10020-1104

REF: dn re Terrorist Attacks on September 11, 2001, Case No.:03-MDL-1570
(GBD)(SN), before the United States District Court for the Southern
District of New York — Substitution of Counsel for John M. Galvin Sr;
John M. Galvin Jr; Diverra Galvin; Kathy Callahan; Lynn Galvin; &

Estate of Thomas E. Galvin.
Dear Mr. Goldman:

In consideration of your 13 February 2024 correspondence advising my co-counsel and me that our above-referenced clients have
recently retained your firm to represent them going forward in respect of the subject cases that we have brought on their behalf,
viz. Anaya, et alit, v Islamic Republic of Iran, C.A.No. 18-12341, & Anaya, et alii, v. Kingdom of Saudi Arabia, C.A.No. 18-
12359, evinced by the individual proposed substitution of counsel forms executed by each of the subject Galvin family members,
supplied with said correspondence, my co-counsel and I have each countersigned and submit herewith such proposed consent
orders. | understand that you will likewise endorse each such consent order and see to it that the proposed consent orders are each
filed promptly with the district court in the corresponding dockets. Also submitted herewith is a proposed consent order of
substitution respecting the Estate of Thomas E. Galvin, which my co-counsel and I have prepared and countersigned as your said
correspondence did not include a proposed order of substitution for that estate. Accordingly, said proposed order of substitution

for the Estate of Thomas E. Galvin will also require signatures from John M. Galvin, Sr., and Diverra Galvin, as they are co-
administrators for the estate.

Regarding the matter of fees due my co-counsel and me for services rendered in the subject litigation, kindly take notice that,
pursuant, inter alia, to the provisions of SDNY Local Civil Rule 1.4, my co-counsel and me hereby assert a charging lien on all
fees recoverable from the U.S. Victims of State Sponsored Terrorism Fund (*USVSST Fund”) for each of the Galvin judgments
obtained in the Anaya y. Jran matter, as all such judgments have been duly registered with the USVSST Fund, with corresponding
Certificates of Eligibility/Updated Certificates of Eligibility with the USVSST Fund having been issued as to each such
judgment. With regard to fees from collections from other sources in the Anaya v. Iran matter, whether by enforcement actions or
otherwise, we, likewise, assert a charging lien, in an amount to be determined and fixed upon realization and notice to us of any
such prospective enforcement actions. As for the litigation which my co-counsel and I have brought on behalf of the Galvins in
the Anaya v. Kingdom of Saudi Arabia matter, my co-counsel and | hereby assert a charging lien as to any recovery that may
eventually be forthcoming from said litigation, whether through judgment and enforcement thercon, or else settlement and
compromise, or otherwise, in an amount to be determined and fixed upon any recovery respecting such latter litigation.

I trust that your firm, consistent with the intendment of SDNY Local Civil Rule 1.4, will file this letter with the district court in
cach of the subject cases, in tandem with the corresponding proposed consent order of substitution of counsel, as notice of such
assertion of charging liens. Also, consistent with provisions of said rule, a copy of the instant correspondence is being served,
concomitantly, on even date, by e-mail, upon each of the within referenced Galvin family members. Please note that our subject
client files are also being sent to your firm on even date, electronically, under separate cover.

Should you have any questio arding.the foregoing, please feel free to contact me, as | am,

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loseph Pefer Drennan

Accompanying documents: as stalg

ce., without accompanying documents, sent by e-mail to: John M. Galvin, Sr.; Diverra Galvin; John M. Galvin, Jr.; Kathy Galvin;
Lynn Galvin; & File.
